          Case 1:18-cv-00444-RP Document 244 Filed 01/05/21 Page 1 of 8




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

MWK RECRUITING, INC.
           Plaintiff,
      v.                                    Civil Action No. 1:18-cv-00444
EVAN P. JOWERS, YULIYA
VINOKUROVA, ALEJANDRO VARGAS,
and LEGIS VENTURES (HK) COMPANY
LIMITED (aka Jowers / Vargas),
           Defendants.


EVAN P. JOWERS

              Counterclaimant,

     v.

MWK RECRUITING, INC., ROBERT E.
KINNEY, MICHELLE W. KINNEY,
RECRUITING PARTNERS GP, INC.,
KINNEY RECRUITING LLC, COUNSEL
UNLIMITED LLC, and KINNEY
RECRUITING LIMITED

              Counter-defendants.


 NOTICE OF CHANGE OF STATUS AND ATTORNEY INFORMATION CHANGE
         Case 1:18-cv-00444-RP Document 244 Filed 01/05/21 Page 2 of 8




  NOTICE OF CHANGE OF STATUS AND ATTORNEY INFORMATION CHANGE

       TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD, PLEASE

TAKE NOTICE that Robert Tauler, Esq., counsel for Defendant and Counterclaimant Evan P.

Jowers, is now a licensed member of the Texas State Bar and has opened an office in this district.

Accordingly, the information currently listed on the docket has changed from:

       Robert Tauler, Esq.
       State Bar No. 241964 (California)
       rtauler@taulersmith.com
       Tauler Smith LLP
       626 Wilshire Blvd., Suite 510
       Los Angeles, CA 90017
       Telephone: (213) 927-9270

To:
       Robert Tauler, Esq.
       Texas State Bar No. 24122095
       rtauler@taulersmith.com
       Tauler Smith LLP
       100 Congress Ave., Suite 2000,
       Austin, TX 78701
       Telephone: (512) 456-8760

       The undersigned attorney files this Notice of Change of Status and Information Change,

pursuant to Local Rule AT-9 and requests that the Court’s docket in the above-styled cause be

updated accordingly. Counsel requests that the Court direct all filings, correspondence, notices

or other communications in this matter to the new address and phone number. Please note that

the email address is unchanged.

       Attached hereto as Exhibit A is a certification from the State Bar of Texas dated January

5, 2021 that counsel for Mr. Jowers was licensed to practice law in Texas on December 31, 2020,

and is an active member in good standing with the State Bar of Texas.

       Attached hereto as Exhibit B is a certification from the Supreme Court of Texas dated

January 5, 2021 that counsel for Mr. Jowers was duly admitted and licensed as an attorney and



NOTICE OF ATTORNEY INFORMATION CHANGE                                                           1
         Case 1:18-cv-00444-RP Document 244 Filed 01/05/21 Page 3 of 8




counselor at law by the Supreme Court of Texas on the 31st day of December, 2020, and that

counsel is presently enrolled with the State Bar of Texas as an active member in good standing.

       Thank you for your courtesies and attention to this matter.



DATED: January 5, 2021                           Respectfully submitted,

                                                 By:     /s/ Robert Tauler
                                                         Robert Tauler, Esq.
                                                         State Bar No. 24122095 (Texas)
                                                         (W.D. Tx. Admission pending since
                                                         9/15/2020)
                                                         rtauler@taulersmith.com
                                                         Tauler Smith LLP
                                                         100 Congress Ave., Suite 2000
                                                         Austin, TX 78701
                                                         Telephone: (512) 456-8760

                                                 COUNSEL FOR DEFENDANT
                                                 AND COUNTERCLAIMANT
                                                 EVAN P. JOWERS




NOTICE OF ATTORNEY INFORMATION CHANGE                                                             2
         Case 1:18-cv-00444-RP Document 244 Filed 01/05/21 Page 4 of 8




                               CERTIFICATE OF SERVICE

       I hereby certify that, on January 5, 2021, a true and accurate copy of the foregoing

document was served on all counsel of record via the Court’s CM/ECF system.



                                           /s/ Robert Tauler
                                          Robert Tauler




NOTICE OF ATTORNEY INFORMATION CHANGE                                                    3
 Case 1:18-cv-00444-RP Document 244 Filed 01/05/21 Page 5 of 8




      !
      !
  EXHIBIT!A!
!   !
             Case 1:18-cv-00444-RP Document 244 Filed 01/05/21 Page 6 of 8




                STATE BAR OF TEXAS


Office of the Chief Disciplinary Counsel

January 05, 2021



Re: Robert Tauler, State Bar Number 24122095


To Whom It May Concern:

This is to certify that Robert Tauler was licensed to practice law in Texas on December 31, 2020, and
is an active member in good standing with the State Bar of Texas. "Good standing" means that the
attorney is current on payment of Bar dues; has met Minimum Continuing Legal Education
requirements; and is not presently under either administrative or disciplinary suspension from the
practice of law.


This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
operation of rule or law.


Sincerely,




Seana Willing
Chief Disciplinary Counsel
SW/web




   P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
    Case 1:18-cv-00444-RP Document 244 Filed 01/05/21 Page 7 of 8




              !
              !
          EXHIBIT!B!
!           !
             Case 1:18-cv-00444-RP Document 244 Filed 01/05/21 Page 8 of 8




                              The Supreme Court of Texas
                                                         AUSTIN
                                                   CLERK'S OFFICE




            I, BLAKE HAWTHORNE, Clerk of the Supreme Court of Texas, certify that the
    records of this office show that

                                                    Robert Tauler

    was duly admitted and licensed as an attorney and counselor at law by the Supreme

    Court of Texas on the 31st day of December, 2020.

            I further certify that the records of this office show that, as of this date



                                                    Robert Tauler



    is presently enrolled with the State Bar of Texas as an active member in good standing.


                                                    IN TESTIMONY WHEREOF witness my signature

                                                                   and the seal of the Supreme Court of

                                                                   Texas at the City of Austin, this, the

                                                                   5th day of January, 2021.

                                                                   BLAKE HAWTHORNE, Clerk



                                                                   Clerk, Supreme Court of Texas
    No. 2532C.1




This certification expires thirty days from this date, unless sooner revoked or rendered invalid by operation of rule or law.
